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                  EXHIBIT A
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                                                                                175L-CC02506

                    IN THE CIRCUIT COURT OF ST. LOUIS COUNTY
                               STATE OF MISSOURI
                                                                                                     !a
CA THERINE GOULD, individually and on )
                                                                                                     b
                                                                                                     C
                                                                                                     ;;;·
behalf of all others similarly situated, )                                                           0
                                                                                                     0
                                         )                                                           C

       Plaintiff,                        )                                                           ~
                                         )                                                            '
                                                                                                     c..
                                                                                                     C
       vs.                               )                                                           '<
                                         )
                                                                                                     N
FARMERS INSURANCE EXCHANGE, )                                                                        0
                                                                                                     ~

Serve:          Director of Insurance    )            WRY TRIAL DEMANDED                             --./

                301 W. High St.          )
                Jefferson City, MO 65101 )            Case No. _ _ _ _ __
                                         )
FARMERS INSURANCE COMPANY,               )
INC.                                     )
Serve:          Director of Insurance    )
                301 West High St.        )                                  Doren E. Hohl
                Jefferson City, MO 65101 )
                                         )                                    fl,\JG O1 20\7
                and,                     )
                                         )                               SERVICE Of PROCESS
FIRE INSURANCE EXCHANGE,                 )
Serve:          Director of Insurance    )
                301 West High St.        )
                Jefferson City, MO 65101 )
                                         )
       Defendants.                       )

                         PETITION FOR CLASS ACTION RELIEF

       COMES NOW Plaintiff Catherine Gould ("Gould"), individually, and all behalf of all

others similarly situated, and for her Petition for Class Action Relief against Defendants Farmers

Insurance Exchange, Farmers Insurance Company, Inc. and Fire Insurance Exchange states:

                                Parties, Jurisdiction and Venue

       1.      Gould is an individual who resides in Cook County, Illinois.

       2.      Gould brings this action on behalf of herself and all others similarly situated.
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                   3.        Defendants Farmers Insurance Exchange and Fire Insurance Exchange are separate
                                                                                                                       SQ
            inter-insurance exchanges existing under the laws of California with their principal places of             r-
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                                                                                                                       C:
                                                                                                                       en'
            business in California.                                                                                    ()
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                                                                                                                       C:
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                   4.        Defendants Farmers Insurance Exchange and Fire Insurance Exchange are                     ~
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                                                                                                                       c:
            authorized to conduct business in Missouri and markets and sell insurance products in Missouri,            '<

            including homeowners and automobile insurance.

                   5.        Defendant Farmers Insurance Company, Inc. is an insurance company authorized              0
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                                                                                                                       i:,,
                                                                                                                       (J1

            to conduct business in Missouri and markets and sells insurance products in Missouri, including            7J
                                                                                                                       s:
            homeowners and automobile insurance.

                   6.        Defendants Farmers Insurance Exchange, Farmers Insurance Company and Fire

            Insurance Exchange (collectively "Farmers") are part of the Farmers Insurance Group, an

            insurance organization of more than twenty insurance entities with its principal place of business

            in California.

                    7.       Farmers has solicited business in the State of Missouri, conducts business in the

            State of Missouri, has committed the acts described below in the State of Missouri and otherwise

            has sufficient minimum contacts with the State of Missouri, and such contacts are continuous and

            systematic.

                    8.       Farmers maintains an office for the conduct of its business at 2705 Old Dougherty

            Ferry Road in St. Louis County, Missouri.

                    9.       A substantial portion of the events giving rise to the claims asserted in this Petition

            occurred in St. Louis County, Missouri.




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                                            Background

         10.     Farmers markets and sells insurance products to the general public, including

 automobile, homeowners, life and renters insurance.

         11.     Farmers maintains a network of district managers and agents throughout the United
                                                                                                       '-
                                                                                                       c:
 States, including Missouri, to market and sell its products.                                          '<

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         12.     Farmers has captive agents that market and sell its insurance products in Missouri,   0
                                                                                                       ....,
                                                                                                       ~




                                                                                                       0
 including Jody Ridgway and Jim Lohse.
                                                                                                       "'
                                                                                                       w
         13.     On information and belief, the agents are not permitted by contract to sell any       "'7J
                                                                                                       ;;::

 insurance in direct competition with Farmers.

         14.     In order to maintain their contract with Farmers, Farmers agents and district

 managers must go through training courses put on by Farmers. These courses are conducted both

 online through the agents' or district managers' "Farmers Dashboard" (a centralized database

 provided to all agents and district managers in which the agents and district managers have

 personalized logins and passwords) or in person at the "University of Farmers" in Los Angeles,

 California or Grand Rapids, Michigan.

         15.     Farmers underwrites the insurance policies marketed by its agents, and guarantees

 the policies.

         16.     When an agent sells an insurance policy to a consumer, the premium is paid directly

 to Farmers. The agent that sold (or wrote) the policy will receive a commission on the policy,

 which is paid by Farmers to the agent.

         17.     Jody Ridgway and Jim Lohse and other Farmers' agents maintain offices at 2705

 Old Dougherty Ferry Road, St. Louis, Missouri. Upon information and belief, 2705 Dougherty

 Ferry Road is the district headquarters for Farmers and Matt Wolk is the district manager.



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          18.   A website operated by Farmers, www.agents.farmers.com, identifies both Jody
                                                                                                       !a
 Ridgway and Jim Lohse as "Farmers Insurance Agent[s] in St. Louis, MO."                               r
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          19.   Farmers markets its insurance products in part by telemarketing, including sending     ()
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 text messages to prospective customers' cell phones.                                                  %
          20.   On information and belief, in its text message advertising, Farmers agents use lead

 lists containing the names and telephone numbers of potential and/or former customers. The lead

 lists are made available by Farmers to its agents.

          21.   Upon information and belief, Farmers sends text message marketing to prospective

 customers because it is a direct and cost-effective way for it to communicate with prospective

 customers.

          22.   Upon information and belief, agents sold insurance products as a result of the text

 message marketing campaign described herein and Farmers received the premiums from those

 sales.

          23.   Gould is the owner of a cell phone and pays the bill for her cell phone account. Her

 cell phone number is 314-XXX-6696.

          24.   Gould did not provide Farmers prior express written consent to be called on her cell

 phone. As used herein, the term "prior express written consent" means an agreement signed by the

 recipient containing a clear and conspicuous disclosure informing the recipient that he/she will

 receive text message advertisements from Farmers from an automatic telephone dialing system

 and informing him/her that he/she is not required to sign such an agreement or agree to enter such

 an agreement as a condition of purchasing any property or goods.

          25.   Between May 2, 2017 and June 29, 2017 Gould received and reviewed a series of

 text messages from Farmers, as described below, on her cell phone in Cook County, Illinois. On



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 information and belief, the text messages were sent from equipment at the Farmer's office at 2705
                                                                                                     $12
 Old Dougherty Ferry Road in St. Louis County, Missouri and were approved by Farmers.                r
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        26.     On May 2, 2017, Gould received the following text message on her cell phone from     ()
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                                                                                                     C:


 Farmers:
                                                                                                     ~

                Hey Catherine this is Jim with the Jim Lohse agency with Farmers
                Insurance. You asked for a quote a year ago and we weren't able to                   N
                help you at the time. I wanted to send you an updated quote. Who                     0
                                                                                                     ~
                                                                                                     ___,
                do you currently have insurance with? If you want to be removed
                                                                                                     '
                                                                                                     0
                from this program please respond STOP.                                               0,
                                                                                                     w
                                                                                                     0,

                On May 4, 2017, Gould received the following text message on her cell phone from     "U
        27.                                                                                          s
 Farmers:

                Hey Catherine just following up on our connection earlier this week.
                We are saving our clients more money and improving their
                coverages. Let's see ifwe can do this for you as well. When would
                be a good time for us to call you to finalize your quote? Thank you.
                The Jim Lohse Insurance Agency with Farmers Insurance. If you
                would prefer not to receive your updated schedule quote respond
                STOP.

        28.     On May 6, 2017, Gould received the following text message on her cell phone from

 Farmers:

                Hey Catherine I never heard back from you and I am trying to issue
                the updated quote to see if we can save you money on your auto or
                insurance. Would you mind verifying your current vehicles to I can
                get a quote right over to you? Thanks! The Jim Lohse Agency with
                Farmers Insurance. If you would like to be removed from the
                program please respond with STOP.

         29.    On May 8, 2017, Gould received the following text message on her cell phone from

  Farmers:

                Hey Catherine Sorry we couldn't connect this week on the quote for
                your insurance. We will contact you in 6 months to see if we can
                work together to improve your insurance position and potentially
                save you money. Feel free to give us a call anytime in the future.
                Thank you, and have an amazing day! If you would like to be


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                  removed from the program please respond with STOP.
                                                                                                  fa
         30.      On June 23, 2017, Gould received the following text message on her cell phone
                                                                                                  b
                                                                                                  C
                                                                                                  iii'
  from Farmers:                                                                                   ()
                                                                                                  0
                                                                                                  C

                  Hey Catherine this is Jessica with the Joe Ridgway Agency with                  ~
                  Farmers Insurance! You asked for a quote a year ago and we                      '-
                                                                                                  c
                  weren't able to help you at that time. I wanted to send you an                  '<
                  updated quote. Who do you currently have insurance with? If you
                  would prefer not to receive your updated schedule quote respond
                  STOP.
                                                                                                  0
                                                                                                  ~
        31.       On June 25, 2017, Gould received the following text message on her cell phone
                                                                                                  "'"'
                                                                                                  "O

  from Farmers:
                                                                                                  s:

                  Hi Catherine - Just following up on our connection earlier in the
                  week. We are saving our clients more money and improving their
                  coverages. Let's see ifwe can do this for you as well. When would
                  be a good time for us to call you to fmalize your quote? Thank you.
                  The Ridgway Agency with Farmers. If you would prefer not to
                  receive your updated scheduled quote respond STOP.

        32.       On June 27, 2017, Gould received the following text message on her cell phone

 from Farmers:

                  Hi Catherine - I never heard back from you and I am trying to issue
                  the updated quote to see if we can save you some money on your
                  auto or insurance. Would you mind verifying your current vehicles
                  so I can get a quote right over to you? Thanks! Joe Ridgway
                  Agency with Farmers Insurance. If you would prefer not to receive
                  your updated scheduled quote respond STOP.

        33.       On June 29, 2017 Gould received the following text message on her cell phone

 from Farmers:

                  Hi Catherine - Sorry we couldn't connect this week on the quote for
                  your insurance. We will contact you in 6 months to see if we can
                  work together to improve your insurance position and potentially
                  save you money. Feel free to give us a call anytime in the future.
                  Thank you, and have an amazing day! If you would prefer not to
                  receive your updated schedule quote respond STOP.



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          34.    Upon information and belief, Farmers sent text message advertisements en masse

  to Gould and members of the proposed class without first obtaining the recipients' prior express

  written consent.

          35.    The text messages sent to Gould and members of the proposed class by Farmers
                                                                                                       '-
                                                                                                       c:
  were made for the purpose of selling insurance products.                                             '<

          36.    Upon information and belief, the text messages sent to Gould and members of the

  proposed class were repetitive and sent at automatically scheduled intervals.                        0
                                                                                                       "'i:,:,
         37.     Farmers' conduct injured Gould and class members because their privacy has been       "'
                                                                                                       7J
                                                                                                       s:
  violated, and they were subject to annoying and harassing text messages that constituted a

  nuisance. Farmers' phone calls to wireless numbers intruded upon the rights of Gould and class

  members to be free from invasion of their interest in seclusion.

         38.     Farmers' conduct injured Gould and class members because they wasted time

  addressing or otherwise responding to the unwanted texts to their wireless numbers.

         39.     Farmers' calls to wireless numbers caused economic harm to class members by

  requiring them to pay their cell phone providers either for each phone call or incurring a usage

  allocation deduction to their cell phone plan.

                Violation of the Telephone Consumer Protection Act ("TCPA"),
                                      47 U.S.C. § 227 et seq.

         40.     The TCPA states, in part:

          It shall be unlawful ... (A) to make any call ( other than a call made for emergency
          purposes or made with the prior express consent of the called party) using any
          automatic telephone dialing system or an artificial or prerecorded voice . . . (iii)
          to any telephone number assigned to a ... cellular telephone ....

 47 u.s.c. § 227(b)(l).

         41.     The TCPA defines an "automatic telephone dialing system" as "equipment which

 has the capacity ... to store or produce numbers to be called, using a sequential number generator;

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  and to dial such numbers." 47 U.S.C. § 227(a)(l).

         42.     The TCPA defines a "telephone solicitation" as a "call or message for the purpose

  of encouraging the purchase of goods, or services which is transmitted to any person." 47 U.S.C.

  § 227(a)(4).
                                                                                                         '-
                                                                                                         c:
         43.     The Federal Communications Commission's regulations implementing the TCPA               '<

  provide that telephone solicitations cannot be made to a recipient without the recipient's "prior

  express written consent." See FCC 12-21, CG Docket 02-278 (effective October 16, 2013); 47

  C.F.R. § 64.1200(a)(2)

         44.     The term "prior express written consent" as defined by the Code of Federal

  Regulations means "an agreement, in writing, bearing the signature of the person called that clearly

  authorizes the seller to deliver or cause to be delivered to the person called advertisements or

  telemarketing messages using an automatic telephone dialing system or an artificial or prerecorded

  voice, and the telephone number to which the signatory authorizes such advertisements or

  telemarketing messages to be delivered." 47 C.F.R. § 64.1200(f)(8)(i).

         45.     The TCPA provides for a private right of action and statutory damages of at least

  $500, and up to $1,500.00 per violation. 47 U.S.C. § 227(b)(3).

         46.     Pursuant to Missouri Supreme Court Rule 52.08, Gould brings this lawsuit as a

  class action on behalf of herself and all others similarly situated. This action satisfies the

  requirements of numerosity, commonality, typicality, and adequacy ofrepresentation.

         47.     The proposed class which Gould seeks to represent is defined as follows:

                 All persons in the United States who, from October 16, 2013 to the
                 present, who were sent text message advertisements by Farmers and
                 who did not sign an agreement containing the following disclosures:
                 (1) by executing the agreement, such person authorized Farmers to
                 deliver or cause to be delivered to the signatory telemarketing calls
                 using an automatic telephone dialing system or an artificial or


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                  prerecorded voice; and (2) the person is not required to sign the
                  agreement (directly or indirectly), or agree to enter into such an
                                                                                                      5a
                  agreement as a condition of purchasing any property, goods, or                      r
                                                                                                      0
                  services.                                                                           C:
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            48.   On information and belief, Farmers used an automatic telephone dialing system to    C:
                                                                                                      :::,
                                                                                                      ..;
  send text messages to Gould's cell phone and to the class members' cell phones. The device

  Farmers used to send the text messages to cellular phone numbers had the capacity to store or

  produce telephone numbers to be called using a random or sequential number generator, and

  further, to dial and send text messages to such numbers.

            49.   Farmers' dialing system stored Gould's and the proposed class members' cell phone

  numbers. The text messages were transmitted to Gould and members of the proposed class without

  human intervention.

            50.   On information and belief, Farmers sent text messages to the cellular phone

  numbers of Gould and the members of the proposed class without the recipients' prior express

  written consent.

            51.   On information and belief, Farmers sent text messages en masse to hundreds if not

  thousands of wireless telephone numbers using a computerized automatic telephone dialing

  system.

            52.   On information and belief, Farmers utilized software known as "Touchpoints" to

  transmit text messages to Gould and members of the proposed class. Touchpoints enables a user

  to deliver hundreds if not thousands of text messages from a desktop computer to the cell phones

  of prospective customers with the push of a button.

            53.   On information and belief, the system used by Farmers to transmit the text

  messages can send form text messages simultaneously to hundreds if not thousands of consumers

  and automatically populates the first name of the recipient in body of the text message.


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           54.    By making calls to the cell phones of Gould and the members of the putative class

  without first obtaining their prior express written consent, Farmers violated the express provisions

  of the TCPA, including, but not limited to, 47 U.S.C. § 227(b)(l).

           55.    Farmers knew or should have known that Gould and members of the putative class

  did not provide their prior express written consent to receive text messages on their cell phones.
                                                                                                         N
           56.    Farmers and the putative class are entitled to damages of $500.00 per call made by     0
                                                                                                         ~

                                                                                                         -..J

  Farmers and up to $1,500.00 per call if the Court finds that Farmers willfully violated the TCPA.

           57.    On information and belief, there are thousands of persons in the proposed class, and

  the class is so geographically diverse that joinder of all members is impracticable.

           58.    Gould's claims are typical of the class she seeks to represent. Gould and members

  of the putative class were sent text messages by Farmers through an automatic telephone dialing

  system and did not provide prior express written consent to be called on their cell phones. Gould's

  claims and the claims of the putative class are based on the same legal theories and arise from the

  same unlawful conduct thereby resulting in the same injury to Gould and members of the putative

  class.

           59.   There are questions of law and fact common to the class. Common questions

  include, but are not limited to:

           a.    Whether Farmers sent text messages to the cell phones of the members of the

  putative class without first obtaining the recipients' prior express written consent;

           b.    Whether Farmers sent text messages to the cell phones of members of the proposed

  class using an automatic telephone dialing system;

           c.    Whether the conduct of Farmers violates 47 U.S.C. § 227(b)(l)(A);

           d.    Whether the conduct of Farmers violates the rules and regulations implementing



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  the TCP A; and,
                                                                                                           S'.l
           e.     Whether Gould and the members of the proposed class are entitled to increased
                                                                                                           b
                                                                                                           C
                                                                                                           .;·
  damages based on the willfulness of Farmers' conduct.                                                    ()
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                                                                                                           C
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           60.    Gould will fairly and adequately represent the putative class members. Gould has         '<
                                                                                                            '
                                                                                                           '-
                                                                                                           c
  retained counsel experienced in the prosecution of class actions. Gould is committed to vigorously       '<

                                                                                                           N
  prosecuting the claims presented in this petition. Neither Gould nor Gould's counsel have any            0
                                                                                                           ~

                                                                                                           -..j


  interests adverse or in conflict with the absent class members.

           61.    The questions of law and fact common to the members of the proposed class

  predominate over any questions of fact affecting any individual member of the proposed class.

           62.    A class action is superior to other methods for the fair and efficient adjudication of

  this controversy. Because the damages suffered by the individual class members may be relatively

  small compared to the expense and burden of litigation, it is impracticable and economically

  infeasible for class members to seek redress individually.


                                            Demand for Judgment

           WHEREFORE Plaintiff Catherine Gould, individually, and on behalf of all others similarly

  situated, requests the Court grant the following relief:

           a.     Enter an order against Defendants Farmers Insurance Exchange, Farmers Insurance

  Company and Fire Insurance Exchange, pursuant to Missouri Supreme Court Rule 52.08(b)(3),

  certifying this action as a class action and appointing Plaintiff Catherine Gould as representative

  of the class;

           b.     Enter an order appointing Butsch Roberts & Associates LLC as counsel for the

  class;

           c.     Enter judgment in favor of Gould and the class and against Defendants Farmers


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'   ' '   '

              Insurance Exchange, Farmers Insurance Company and Fire Insurance Exchange, jointly and
                                                                                                                 '
                                                                                                                (fl_
              severally, for all damages available under the TCPA, including statutory damages of $500 per      r
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                                                                                                                C
                                                                                                                ;;;·
              violation, or up to $1,500 per violation if Defendant willfully violated the TCP A;               ()
                                                                                                                0
                                                                                                                C
                                                                                                                :,
                     d.      Award Gould and the class all expenses of this action, and requiring Defendants    -<'
                                                                                                                  '
                                                                                                                 '-
                                                                                                                c
              Farmers Insurance Exchange, Farmers Insurance Company and Fire Insurance Exchange to pay          '<
                                                                                                                ~
                                                                                                                ~




              the costs and expenses of class notice and claims administration; and,

                     e.      Award Gould and the class such further and other relief the Court deems just and

              appropriate.




                                                           JURY TRIAL DEMANDED

                                                           BUTSCH ROBERTS      & AS SOCIATES LLC


                                                        By: /s/ David T. Butsch
                                                          David T. Butsch #37539
                                                          Christopher E. Roberts #61895
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